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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                            U.S. Magistrate Judge S. Kato Crews

  Civil Action No. 1:18-cv-1462-WJM-SKC

  JOHN DOE,

          Plaintiff,

  v.

  THE BOARD OF REGENTS FOR THE UNIVERSITY OF COLORADO,
  and PHILIP DISTEFANO, Chancellor for the University of Colorado Boulder, in his official
  capacity,

          Defendants.



                       ORDER SETTING SETTLEMENT CONFERENCE


       1. A Settlement Conference is set in this matter for Friday, September 27, 2019, at
          9:00 A.M. in Courtroom C-204, Byron G. Rogers United States Courthouse, 1929
          Stout Street, Denver, Colorado.

       2. Unless otherwise ordered, counsel shall have all parties present at settlement
          conferences, including all individually named parties or a representative of each
          named entity. Counsel shall also have in attendance all individuals with full
          authority to negotiate all terms and demands presented by the case, and full
          authority to enter into a settlement agreement, including, but not limited to, an
          adjustor, if an insurance company is involved. “Full authority” means that the
          person who attends the settlement conference has the complete and unfettered
          capacity and authority to meet or pay all terms or amounts which are demanded
          or sought by the other side of the case without consulting with some other person,
          committee or agency.
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     3. In exceptional circumstances, the appearance of a party, or an insurance or party
        representative by telephone may be approved in advance of the settlement
        conference. Any party seeking such relief should file the appropriate motion with
        the Court after conferring with opposing counsel.

     4. No person is ever required to settle a case on any particular terms or amounts.
        However, both parties must participate in the settlement conference in good faith,
        pursuant to Fed. R. Civ. P. 16(f). If any party or party representative attends the
        settlement conference without full authority, fails to attend the proceeding without
        prior Court approval, or fails to participate in the proceeding in good faith, and the
        case fails to settle, that party may be ordered to pay the attorney’s fees and costs
        for the other side.

     5. Counsel shall prepare and submit two position statements: one to be submitted to
        the other party or parties, and the other to be submitted by email only to the
        Magistrate Judge, no later than Thursday, September 19, 2019. Statements and
        exhibits are limited to 35 pages. A request for additional pages should be emailed
        to Chambers (with a copy to the opposing party) no later than two (2) days prior
        to the position statement deadline. The email should specify the number of
        additional pages requested, and explain why additional pages are necessary.

            a. The statement(s) presented to opposing counsel shall contain an overview
               of the case from the presenter’s point of view, shall summarize the evidence
               which supports that side’s claims, and may present a demand or offer.
               These statements should be intended to persuade the opposing clients and
               counsel.

            b. The second statement shall be emailed to Chambers (not submitted for
               filing to the court) at Crews_Chambers@cod.uscourts.gov. This statement
               shall contain the content or copies of the first statement along with any
               confidential comments the party or counsel wishes to make. The statement
               shall directly address the concerns, needs, and fears which may affect the
               party's settlement position or ability to settle.

     6. Counsel shall participate in individual phone calls with Magistrate Judge Crews
        prior to the Settlement Conference. These phone calls are off-the-record and are
        an opportunity for the Judge Crews to raise questions stemming from his review



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        of the position statements. Counsel shall call Chambers at 303.335.2124 at the
        designated times below.

           a. Plaintiff’s Counsel: Wednesday, September 25, 2019 at 2:30 P.M.

           b. Defense Counsel: Wednesday, September 25, 2019 at 3:30 P.M.


  SO ORDERED, this 8th day of July, 2019.




                                                S. Kato Crews
                                                United States Magistrate Judge




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